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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: Tuesday Morning Corporation Case No. 20-31476
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

Bradford Capital Holdings, LP Woodbury Village Shopping Center,
Name of Transferee LP
Name of Transferor

 

Name and address where transferee payments Scheduled Claim Number: 478038890
should be sent: Scheduled Claim Amount: $39,454.76
c/o Bradford Capital Management, LLC Proof of Claim Numbers: 10774

PO Box 4353 (Amended by) 11297

Clifton, NJ 07012 Proof of Claim Amount: $385,174.30
Attn: Brian Brager

Phone: 862-249-1349

Email: bbrager@bradfordcapitalmemt.com

 

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 10/21/20
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571

 
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EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Northern District of Texas
Attention; Clerk

AND TO: Tuesday Morning Corporation (“Debtor”)
Case No. 20-31476

Proof of Clains Number: 11297, 10774
Proof of Claim Amount:3385.174.30
Scheduled Claim # 478038890
Scheduled Claim Amount: $39,454.76

Woodbury Village Shopping Center its successors and assigns ("Assignor’). for good and valuable consideration the
receipt and sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and
assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager

PO Box 4353

Clifton, NJ O7012

its successors and assigns (“Assignee”), all rights. title and interest. claims and causes of action in and to, or arising under
or in connection with, its claim (as such term is defined in Section 101(5) of the U.S. bankruptcy Code), in and to the
claim of Assignor, including all rights of stoppage in transit, replevin and reclamation, (the “Claim”) against the Debtor in
the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the beoks and records of the Debtor and
the Bankruptcy Court. and hereby waives to the fullest extent permitted by law anv notice or right to a hearing as may be
imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code, applicable local bankruptey
rules or applicable law. Assignor acknowledges. understands and agrees. and hereby stipulates that an order of the
Bankruptcy Court may be entered without further notice to Assignor transferring to Assignee the Claim and recognizing
the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other communications,
in respeet of the Claim to Assignee.

IN WITNESS WHEREOF, each of the undersigned has executed this Evidence of Transfer by its duly authorized
representative dated as of __ 10/20/2020 .

Woodbury Village Shopping Center Bradford Capital Holdings, LP
By Bradford Capital GP, LLC, its General Partner

 

 

 

DocuSigned by:
By: By: { trian Brag
Name: Nannie s\—858F5F65980341€...
Title: > oft a Title: Brian Brager
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/ Vv }
WAY Managing Member

 
